Case 2:11-cr-20752-SFC-RSW ECF No. 644, PageID.3507 Filed 03/29/17 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

United States of America,

       Plaintiff/Respondent,                         Civil Case No. 16-11956
                                                     Criminal Case No. 11-20752

v.
                                                     Sean F. Cox
Darren Terry,                                        United States District Court Judge

      Defendant/Petitioner,
_________________________________/

                                            ORDER

       In Criminal Case No. 11-20752, Petitioner Darren Terry (“Petitioner”) was charged with

drug and firearm offenses. On May 27, 2016, Petitioner filed a Motion to Vacate Sentence,

pursuant to 28 U.S.C. § 2255, raising, among other things, a claim under Johnson v. United

States, 135 S.Ct. 2551 (2015). (Doc. # 623). In an Order issued on August 29, 2016, this Court

granted the Government’s Motion to Stay and ordered this matter stayed until the Supreme

Court’s decision in Beckles v. United States. (Doc. # 632).

       On March 6, 2017, the United States Supreme Court issued Beckles v. United States, 580

U.S. __, 2017 WL 855781 (March 6, 2017), wherein the Court ruled that the Federal Sentencing

Guidelines, including § 4B1.2(a)’s residual clause, are not subject to vagueness challenges under

the Due Process Clause.

       As such, the Court concludes that there is no longer a reason to stay Petitioner’s § 2255

motion. The Court therefore ORDERS the Government to file a response to Petitioner’s § 2255

Motion no later than May 31, 2017.

       IT IS FURTHER ORDERED that any reply brief filed by Petitioner must be filed no
Case 2:11-cr-20752-SFC-RSW ECF No. 644, PageID.3508 Filed 03/29/17 Page 2 of 2




later than June 30, 2017.

       IT IS SO ORDERED.

Dated: March 29, 2017                              s/Sean F. Cox
                                                   Sean F. Cox
                                                   U. S. District Judge


I hereby certify that on March 29, 2017, the foregoing document was served on counsel of record
via electronic means and upon Darren Terry via First Class mail at the address below:
Darren Terry 15441039
FORT DIX
FEDERAL CORRECTIONAL INSTITUTION
Inmate Mail/Parcels
P.O. BOX 2000
FORT DIX, NJ 08640


                                                   s/J. McCoy
                                                   Case Manager
